This court will not entertain a petition for certiorari, in a personal-injury action, to review a decision of the Court of Appeals holding that the evidence authorized the finding of the jury that the relation of master and servant existed between the insurance company and its agent, the driver of the automobile inflicting the fatal injuries upon the plaintiff's husband, when upon a fair construction of its decision the Court of Appeals appears merely to have reviewed evidence and applied the rule well established in decisions of this court and the Court of Appeals for determination of whether an employee is a servant or an independent contractor. Macon News Printing Co. v. Hampton, 192 Ga. 623
(15 S.E.2d 793). Accordingly, the writ of certiorari having been improvidently granted, must be
Dismissed. All the Justices concur, except Wyatt, J., who took no part in the consideration or decision of this case.
                      No. 15996. NOVEMBER 14, 1947.
The present case came to this court by writ of certiorari from *Page 96 
the Court of Appeals. Gulf Life Ins. Co. v. McDaniel, 75 Ga. App. 549
(43 S.E.2d 784).
Mrs. Jennie McDaniel sued James A. Rainwater and Gulf Life Insurance Company seeking to recover damages for the death of her husband, who died from injuries received when he was struck by an automobile owned and being driven by the defendant Rainwater. A controlling question was whether the relation of master and servant existed between the insurance company and its agent. The jury returned a verdict for the plaintiff. Gulf Life Insurance Company made a motion for a new trial, which was amended by the addition of one special ground merely amplifying the general grounds, and the company excepted to the overruling of that motion.
The Court of Appeals held: "The finding of the jury that the relation of master and servant existed between the insurance company and its agent, the driver of the automobile inflicting the fatal injuries upon the plaintiff's husband, was supported by the evidence; and the verdict for the plaintiff against both of the defendants was authorized, and the court did not err in overruling the motion for a new trial."